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               Exhibit C
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Harvard and UNC sued over their admission policies




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                                                      November 17, 2014

                                   Harvard and UNC sued over their admission policies

                                                               AP

BOSTON (AP) - Lawsuits filed Monday against Harvard University and the University of North Carolina at Chapel Hill argue
that affirmative action policies should be banned at colleges across the nation.

The federal suits allege Harvard and UNC rely on race-based affirmative action policies that impact admissions of high-
achieving white and Asian American students. The Harvard lawsuit also contends that the Ivy League university specifically
limits the number of Asian Americans it admits each year.

The Project on Fair Representation, an Alexandria, Virginia-based legal defense fund, said Monday's filings will be the first in
a series of legal challenges against colleges across the country in an effort to ban race-based admission policies outright.

"Allowing this issue to be litigated in case after case will only perpetuate the hostilities that proper consideration of race is
designed to avoid," state the lawsuits, both of which cite "Students for Fair Admissions" as plaintiff, a nonprofit group based
in Austin, Texas made up of recently rejected applicants, prospective students and parents. "Racial preferences are a dangerous
tool and may only be used as a last resort."

Both universities defended their admission policies Monday, noting that they are fully compliant with federal law.

"(T)he university continues to affirm the educational benefits diversity brings to students, as well as the importance of preparing
students for a diverse society and assuring a pool of strong state leaders by admitting undergraduates from every background,"
said UNC-Chapel Hill spokesman Rick White.

Harvard University's General Counsel Robert Iuliano pointed out that the Supreme Court's landmark 1978 decision in Regents
of University of California v. Bakke, which upheld affirmative action, specifically cited Harvard's admissions plan as a "legally
sound approach" to admissions.

"Then and now, the college considers each applicant through an individualized, holistic review having the goal of creating a
vibrant academic community that exposes students to a wide-range of differences: background, ideas, experiences, talents and
aspirations," he said.

But the lawsuit against Harvard argues that the "holistic approach" the school touts is a large part of the problem.

"Statistical evidence reveals that Harvard uses 'holistic' admissions to disguise the fact that it holds Asian Americans to a far
higher standard than other students and essentially forces them to compete against each other for admission," the lawsuit argues.



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Harvard and UNC sued over their admission policies




The lawsuit goes on to allege that Harvard is engaging in "racial balancing," enrolling the "essentially the same percentage" of
African Americans, Hispanics, whites, and Asian Americans year after year, even though the application rates and qualifications
for each racial group have undergone significant changes over time.

"Harvard's remarkably stable admissions and enrollment figures over time are the deliberate result of system wide intentional
racial discrimination designed to achieve a predetermined racial balance of its student body," the lawsuit states.

The lawsuits conclude that "race neutral" policies - such as giving greater consideration to a prospective student's socio-
economic background and boosting financial aid, scholarships and minority candidate recruitment efforts - can promote diversity
better than affirmative action.

Elite schools should also stop giving preference to so-called "legacy" students and offering early admission deadlines, both of
which tend to hurt low income and minority applicants and favor wealthy and white ones, the lawsuits suggests.

The Project on Fair Representation is affiliated with Project Liberty Inc., a nonprofit organization focused on "free market and
liberty oriented solutions to society's most pervasive and radial needs," according to its IRS filings.

Project on Fair Representation has been involved in a long-running federal lawsuit in which a white student, Abigail Fisher,
is challenging the University of Texas at Austin's affirmative action policy after being denied admission in 2008. That case is
likely on its way back to the U.S. Supreme Court, after a lower appeals court earlier this month refused to reconsider the case,
as the nation's highest court had ruled last year.

___

Associated Press writer Martha Waggoner in Raleigh, North Carolina contributed to this report.


---- Index References ----


News Subject: (Civil Rights Law (1CI34); Education (1ED85); Higher Education (1HI55); Judicial Cases & Rulings (1JU36);
Legal (1LE33); Minority & Ethnic Groups (1MI43); Social Issues (1SO05))


Region: (Americas (1AM92); Massachusetts (1MA15); North America (1NO39); North Carolina (1NO26); Texas (1TE14);
U.S. New England Region (1NE37); U.S. Southeast Region (1SO88); U.S. Southwest Region (1SO89); USA (1US73))

Language: EN

Other Indexing: (Martha Waggoner; Abigail Fisher; Rick White; Robert Iuliano)

Word Count: 661

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                                    U.S.   ·   Published November 18, 2014     ·   Last Update December 1, 2015


       Rejected Asian students sue Harvard over admissions
                    that favor other minorities
                                                              By Maxim Lott, | Fox News




   FILE -- Harvard University




   Harvard University's a rmative action policies, which the school says are aimed at achieving
   diversity on the vaunted campus of Cambridge, discriminate against Asians who often can't get in
   despite having higher test scores and grade-point averages than black and Hispanic students who
   are accepted, according to a lawsuit led Monday.

   Edward Blum, who runs the Project on Fair Representation, which led the suit on behalf of Asian
   students who were rejected by the school, said it is a clear case of favoring certain racial groups
   over others.

   “Quotas and racial balancing are strictly against the law,” said Blum, whose group sued the
   University of Texas on behalf of a white applicant over its a rmative action admissions policies in a
https://www.foxnews.com/us/rejected-asian-students-sue-harvard-over-admissions-that-favor-other-minorities                             1/6
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   case that went to the U.S. Supreme Court last year.

   In the Texas case, the high court reversed a lower court's ruling in that case and remanded it with
   orders to apply the standard of strict scrutiny to the school's race-conscious admissions policy.
   That decision is pending, but the Harvard case is different because it focuses on a rmative action’s
   negative impact on a minority group.

   [pullquote]

   The lawsuit cites a 2009 study by Princeton sociologists that concluded that while the average
   Asian American applicant needed a much higher 1460 SAT score to be admitted, a white student
   with similar GPA and other quali cations only needed a score of 1320, while blacks needed 1010
   and Hispanics 1190.

   The scores re ect the fact that Asians as a whole score higher than any other group on the SAT, so
   if a college wanted to avoid having a disproportionately high number of Asian enrollees, it might
   have to hold them to a higher standard.

   The student plaintiffs remain anonymous, but the lawsuit notes that their quali cations were above
   average and yet they were rejected. The group is looking for additional student plaintiffs on their
   website, and has also led suit against UNC Chapel Hill for discriminating against both whites and
   Asians.

   Harvard defended its admissions policy in an e-mailed statement to FoxNews.com.

   “The College considers each applicant through an individualized, holistic review having the goal of
   creating a vibrant academic community that exposes students to a wide-range of
   differences: background, ideas, experiences, talents and aspirations,” wrote Robert Iuliano, Harvard's
   general counsel.

   He added that the policy is legal.

   “The University’s admissions processes remain fully compliant with all legal requirements and are
   essential to the pedagogical objectives that underlie Harvard’s educational mission,” he wrote.

   Others also defended the university’s diversity policy.

   “Asian-American students bene t greatly from attending the racially and socio-economically diverse
   campuses that a rmative action helps create,” Julie Park, assistant professor of education at the
   University of Maryland and author of the book “When Diversity Drops,” told FoxNews.com.

   But others think the policy is harmful.



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   “The plaintiffs present considerable evidence suggesting that Harvard discriminates against Asian
   American applicants,” Richard Kahlenberg, a consultant for the plaintiffs who studies education
   policy at the Century Foundation, told FoxNews.com.

   One piece of evidence is the advice that the Princeton Review, a popular college guide, gives to
   Asian students applying to elite schools.

   “The Princeton Review… explains: ‘Don’t attach a photograph to your application and don’t answer
   the optional question about your ethnic background… Write about something entirely unrelated to
   your ethnic background,’” the lawsuit notes.

   Kahlenberg added that rather than directly targeting race, universities should give a leg up only to
   students who come from poorer backgrounds.

   “Harvard has as many students in the freshman class from families in the top 1 percent by income
   nationally as from the bottom 50 percent," he said. "It could produce considerable racial and ethnic
   diversity without resorting to racial preferences.”

   As a legal matter, Harvard’s lawyer noted that a previous Supreme Court ruling from 1978 held
   Harvard’s policy as not only legal, but as a model for creating racial diversity without explicit quotas.

   The plaintiffs hope that the Supreme Court has changed its mind over the decades.

   “Harvard is not in compliance with the new “strict scrutiny” standards articulated in 2013 by the U.S.
   Supreme Court in Fisher v. University of Texas at Austin. The Fisher opinion unambiguously requires
   schools to implement race-neutral means to achieve student body diversity before turning to racial
   classi cations and preferences,” the plaintiffs noted.

   “The university is engaging in a campaign of invidious discrimination.”

   The author, Maxim Lott, can be reached at @maximlott or maxim.lott@foxnews.com




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Asian groups file complaint over Harvard admission practices




                                                 5/15/15 AP Alerts 20:37:20

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                                                          May 15, 2015

                              Asian groups file complaint over Harvard admission practices

                                                               AP

WASHINGTON (AP) - An alliance of Asian American groups on Friday filed a federal complaint against Harvard University,
saying that school and other Ivy League institutions are using racial quotas to admit students other than high-scoring Asians.

More than 60 Chinese, Indian, Korean and Pakistani groups came together for the complaint, which was filed with the civil
rights offices at the Justice and Education departments. They are calling for an investigation and say these schools should stop
using racial quotas or racial balancing in admission.

"We are seeking equal treatment regardless of race," said Chunyan Li, a professor and civil rights activist, who said they'd rather
universities use income rather than race in affirmative action policies.

Harvard says its approach to admissions has been found to be "fully compliant with federal law." Officials also say the number
of Asian students admitted increased from 17.6 percent to 21 percent over the last decade.

"We will vigorously defend the right of Harvard, and other universities, to continue to seek the educational benefits that come
from a class that is diverse on multiple dimensions," said Robert Iuliano, Harvard's general counsel.

Iuliano pointed to the Supreme Court's landmark 1978 decision in Regents of University of California v. Bakke, which upheld
affirmative action and specifically cited Harvard's admissions plan as a "legally sound approach" to admissions.

Harvard and the University of North Carolina at Chapel Hill were sued last year by "Students for Fair Admission," a nonprofit
group based in Austin, Texas, made up of recently rejected applicants who argue that affirmative action policies should be
banned at colleges across the nation.

The federal suits allege Harvard and UNC rely on race-based affirmative action policies that impact admissions of high-
achieving white and Asian American students. The Harvard lawsuit also contends that the Ivy League university specifically
limits the number of Asian Americans it admits each year.

Yukong Zhao, who organized the groups for Friday's complaint, challenged Harvard to open its admission books to prove that
Asians were not purposefully being put at a disadvantage. "We want to help this country move forward," Zhao said.

Other Asian American groups and officials also released statements supporting affirmative action, including two members of
the U.S. Commission on Civil Rights. "Neither of us believes that any racial or ethnic group should be subjected to quotas,"




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Asian groups file complaint over Harvard admission practices


Commissioners Michael Yaki and Karen Narasaki said. "Nor do we believe that test scores alone entitle anyone to admission
at Harvard. Students are more than their test scores and grades."


---- Index References ----


News Subject: (Education (1ED85); Higher Education (1HI55); Minority & Ethnic Groups (1MI43); Race Relations (1RA49);
Social Issues (1SO05))


Region: (Americas (1AM92); Asia (1AS61); North America (1NO39); North Carolina (1NO26); Texas (1TE14); U.S. Southeast
Region (1SO88); U.S. Southwest Region (1SO89); USA (1US73))

Language: EN

Other Indexing: (Yukong Zhao; Yukong Zhao; Karen Narasaki; Karen Narasaki; Robert Iuliano; Robert Iuliano; Michael Yaki;
Michael Yaki; Chunyan Li; Chunyan Li; Michael Yaki; Chunyan Li; Karen Narasaki; Yukong Zhao; Robert Iuliano; Robert
Iuliano)

Word Count: 417

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                                Democracy Dies in Darkness



Asian Americans file complaint alleging
discrimination in Harvard admissions
By Valerie Strauss

May 16, 2015




More than 60 Asian American organizations filed a complaint (see below) with the federal government on Friday
alleging that Harvard University discriminates against Asian Americans in the admissions process and calling for an
investigation.

The Harvard Crimson, a student newspaper on campus, wrote in this story that 64 groups filed the complaint with the
U.S. Education and Justice departments, arguing that the university makes an “unlawful use of race” in its decisions
that hurts Asian Americans.

More than 21 percent of the admitted students for the current school year were Asian American, according to Harvard
data. Asian Americans comprised the largest minority group accepted, the data shows. In the Class of 2017, admitted
four years earlier, Asian Americans comprised 19.9 percent.

The complaint, in part, says:

      Over the last two decades, Asian-American applicants to Harvard University and other Ivy League
      colleges have increasingly experienced discrimination in the admissions process. Many Asian-
      American students who have almost perfect SAT scores, top 1% GPAs, plus significant awards or
      leadership positions in various extracurricular activities have been rejected by Harvard University
      and other Ivy League Colleges while similarly situated applicants of other races have been
      admitted. Because of this discrimination, it has become especially difficult for high-performing
      male Asian-American students to gain admission to Harvard University and other Ivy League
      colleges. In recently years these trends have become more and more severe. They are widely
      reported by various Asian-American web bloggers and other media.

The Crimson story said that Robert W. Iuliano, the university’s general counsel, issued a statement in response to
Friday’s complaint denying that Harvard admissions uses unlawful methods of selecting students:

      “[W]ithin its holistic admissions process, and as part of its effort to build a diverse class, Harvard
      College has demonstrated a strong record of recruiting and admitting Asian American students,”
      Iuliano wrote, citing recent increases in the percentage of admitted Asian American students at
      Harvard College.

The complaint, the Crimson said, draws on the work of a number of admissions researchers, including Thomas J.
The complaint, the Crimson said, draws on the work of a number of admissions researchers, including Thomas J.
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Espenshade, a sociologist at Princeton who has written extensively about the subject. He told the Crimson that his
research suggests that Asian Americans are disadvantaged in college admissions, but it is not clear because all parts of
a student’s application are not available to researchers. He was quoted as saying:

      “I stop short of saying that Asian-American students are being discriminated against in the college
      application process because we don’t have sufficient empirical evidence to support that claim.”

Asian Americans have for years argued that they are being discriminated against in college admissions. A recent Los
Angeles Times story about how college admissions is changing for Asian Americans says in part:

      College admission season ignites deep anxieties for Asian American families, who spend more than
      any other demographic on education. At elite universities across the U.S., Asian Americans form a
      larger share of the student body than they do of the population as a whole. And increasingly they
      have turned against affirmative action policies that could alter those ratios, and accuse admissions
      committees of discriminating against Asian American applicants.


      That perspective has pitted them against advocates for diversity: More college berths for Asian
      American students mean fewer for black and Latino students, who are statistically
      underrepresented at top universities.

That story tells of a college prep business called HS2 Academy which “assumes that racial bias is a fact of college
admissions and counsels students accordingly” with a goal of helping Asian American applicants “avoid coming off like
another ‘cookie-cutter Asian.'”

This is the second complaint against Harvard admissions practices on behalf of Asian Americans in a month. A legal
defense group called Project on Fair Representation filed a lawsuit against Harvard about a month ago on behalf of a
group called Students for Fair Admissions. It accuses Harvard of “employing racially and ethnically discriminatory
policies” in its admissions practices. You can read that suit here.

Here’s the newest complaint against Harvard filed with the Justice and Education departments:
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                 COMPLAINT AGAINST HARVARD UNIVERSITY AND T
                PRESIDENT AND FELLOWS OF HARVARD COLLEGE F
            DISCRIMINATING AGAINST ASIAN-AMERICAN APPLICANT
                          COLLEGE ADMISSIONS PROCESS




                                                         Submitted to:

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By Valerie Strauss
Valerie Strauss is an education writer who authors The Answer Sheet blog. She came to The Washington Post as an
assistant foreign editor for Asia in 1987 and weekend foreign desk editor after working for Reuters as national security
editor and a military/foreign affairs reporter on Capitol Hill. She also previously worked at UPI and the LA Times.   Twitter
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NEWS


Asian-American groups accuse Harvard
of racial bias in admissions
Yamiche Alcindor USA TODAY
Published 12:31 p.m. ET May 16, 2015        Updated 5:57 p.m. ET May 16, 2015


A coalition of Asian-American groups filed a federal complaint against Harvard University on
Friday alleging the school engaged in "systemic and continuous discrimination" against
Asian Americans during its admissions process.

More than 60 Chinese, Indian, Korean and Pakistani groups came together for the
complaint, which was filed with the civil rights offices at the justice and education
departments. They are calling for an investigation into Harvard and other Ivy League
institutions that they say should stop using racial quotas or racial balancing in admission.

"We want to eliminate discrimination of Asian Americans, and we want procedural justice for
all racial groups," Yukong Zhao, one of the chief organizers and a guest columnist with the
Orlando Sentinel, told NBC News. "All racial groups should be treated equal."

The coalition includes the Chinese-American Association of Orange County, in California; the
Global Organization of People of Indian Origin, in New York; and the Pakistani Policy
Institute, also in New York, Zhao told the network.

Robert Iuliano, Harvard University General Counsel, said in a statement that the university
uses a "holistic admissions process" that is "fully compliant with federal law" to build a
diverse class. He added that over the past decade the percentage of Asian American students
admitted to Harvard College has increased from 17.6% to 21%.

"We will vigorously defend the right of Harvard, and other universities, to continue to seek
the educational benefits that come from a class that is diverse on multiple dimensions,"
Iuliano said.

Iuliano also pointed to the Supreme Court's landmark 1978 decision in Regents of University
of California v. Bakke, which upheld affirmative action and specifically cited Harvard's
admissions plan as a "legally sound approach" to admissions.
https://www.usatoday.com/story/news/2015/05/16/asian-american-groups-accuse-harvard-of-racial-bias-in-admissions/27438565/                      1/2
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Yet, Yukong Zhao, a 52-year-old Chinese-American author who helped organize the
coalition, told The Wall Street Journal that there are longtime stereotypes of Asian
applicants' being "not creative enough or risk-taking enough, but that's not true."

"There is a lot of discrimination, and it hurts not just Asian Americans, it hurts the whole
country," he told the paper.

Meanwhile, other Asian-American groups and officials have released statements supporting
affirmative action, including two members of the U.S. Commission on Civil Rights.

"Neither of us believes that any racial or ethnic group should be subjected to quotas,"
commissioners Michael Yaki and Karen Narasaki said. "Nor do we believe that test scores
alone entitle anyone to admission at Harvard. Students are more than their test scores and
grades."

Contributing: The Associated Press




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            Asian-American groups accuse Harvard of discrimination
  By Camille Cava, CNN
   Updated 6:46 PM ET, Wed May 27, 2015




  Harvard receives $150 million gift 02:51

                                                                   (CNN) — A coalition of Asian-American organizations says the
  Story highlights                                                 federal government should step in to change Harvard's
                                                                   approach to admissions, accusing the university of racial
  A coalition of more than 60 Asian-American                       discrimination.
  groups accuses Harvard of discrimination
                                                                   In a complaint ﬁled with the U.S. Department of Education and
                                                                   the Justice Department on Friday, the coalition of more than 60
  They ask federal authorities to investigate                      groups claims that the university unfairly holds Asian-American
  Harvard's admissions policies                                    applicants to a higher standard. Asian-Americans have the
                                                                   lowest acceptance rates at Harvard University and other elite
  The university stands by its "holistic"                          universities, the complaint alleges, despite having some of the
  approach to the admissions process
                                                                   highest test scores and overall academic achievement.

                                                        "People from all over the world came to America for equal
                                                        opportunities. We are trying to bring those principles back to
  America," said Yukong Zhao, a Chinese-American author who helped organize the coalition. "This isn't just about
  discrimination and race. It is about justice for everyone, including (people of) all races, and social and economic
  statuses."

  It's an argument that the school staunchly denies. And it's a case that's been made before. In November, a lawsuit
  from Students for Fair Admissions Inc. challenged Harvard's admissions policy and argued it discriminates against
https://www.cnn.com/2015/05/17/us/harvard-asian-americans-discrimination-complaint/index.html                                     1/4
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                                                                 say Harvard 09/17/21- CNNPage 19 of 33
  Asian-American students.
               US                                                                                                LIVE TV
  That lawsuit, which is pending in federal court, and several studies are part of the evidence the coalition points to
  in its complaint, Zhao said.

  The complaint argues that although the total population of Asian and Paciﬁc Islanders has increased in the United
  States, the admission rate for Asian-Americans at Harvard University has remained relatively static.

                                                                     Harvard's general counsel said the university's admissions
                                                                     policies are "fully compliant with the law."

                                                                     "In fact, within its holistic admissions process, and as part of
                                                                     its e ort to build a diverse class, Harvard College has
                                                                     demonstrated a strong record of recruiting and admitting
                                                                     Asian-American students," Harvard University General
                                                                     Counsel Robert Iuliano said in an online statement posted in
                                                                     response to the complaint.
    
                                                                     'Make it fair'
  Photos: 2015's high-proﬁle graduation
                                                                     But the coalition -- made up of Chinese-, Indian-, Korean- and
  speakers
                                                                     Pakistani-American organizations across the United States --
                                                                     says that's not true.

  The groups are asking the Department of Education's O ce for Civil Rights and the U.S. Justice Department's Civil
  Rights Division to launch an investigation to stop Harvard University's so-called holistic approach to admissions.

  In this approach, Harvard says it reviews each applicant's background and personal characteristics, including --
  when relevant -- the applicant's race or ethnicity, as one of the many factors in its admissions process.

  Chunyan Li, an assistant professor of accounting at Pace University who helped recruit groups to join the
  complaint, said the university's emphasis on race in the application process is unfair.

                                                                     "This approach is subjective," Li said. "If it is all implemented
                                                                     objectively, then how come all Asians on average have such
                                                                     higher scores? What's the fairness in this? If (Harvard) pushes
                                                                     for (a) holistic approach, then make it fair. If you kept
                                                                     emphasizing race, then there is no way out."

                                                                    The complaint points to a racial breakdown of SAT scores,
                                                                     citing the 2011 book "No Longer Separate, Not Yet Equal."

                                                                     "An Asian-American student has to score 140 points higher
                                                                     than a white student, 270 points higher than a Hispanic
                                                                     student and 450 points higher than a black student on the
                                                                     SAT to be on equal footing," Princeton Professor Thomas J.
  Related Video: Asian Americans' political                          Espenshade and RTI International researcher Alexandria
                                                                     Walton Radford argue in the book.
  clout 04:45
                                                                     This year Harvard said it accepted 5.3% of applicants who
                                                                     applied for a spot in the Class of 2019. Of the 1,990 admitted
                                                                     students, 21% identiﬁed as Asian-American, 13.3% as Latino
  and 12.1% as African-American.


  Critics: E orts aim to end a rmative action
https://www.cnn.com/2015/05/17/us/harvard-asian-americans-discrimination-complaint/index.html                                            2/4
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                                           Asian-American     1-3
                                                          groups      Filed discriminates
                                                                 say Harvard 09/17/21- CNNPage 20 of 33
  The November lawsuit and last week's complaint have drawn ﬁre from some Asian-American groups, who claim
  the aim ofUS                                                                                    L Iﬁeld
            conservative activists behind them is to end a rmative action, not to level the playing  V E Tfor
                                                                                                           V Asian-
  American students.

  "What this lawsuit is really is just the latest attempt to derail an apparatus that has given hundreds of thousands of
  blacks, Hispanics and, yes, Asians a means to climb out of circumstances deﬁned by our society's historical
  racism," Wall Street Journal opinion columnist Je Yang said in an opinion piece for CNN.com last year.

  Two Asian-American commissioners on the U.S. Commission on Civil Rights said Friday that they were concerned
  about e orts to undermine a rmative action.

  "While we have not reviewed the actual complaint against Harvard University, we hope that this is a sincerely raised
  issue and not a back door attack on a rmative action that attempts to pit Asian-Americans against other
  minorities, as other e orts have been," Michael Yaki and Karen Narasaki said in a statement.

  Harvard says it stands by its approach.

  "We will vigorously defend the right of Harvard, and other universities, to continue to seek the educational beneﬁts
  that come from a class that is diverse on multiple dimensions," Iuliano said.

  CNN's Catherine E. Shoichet and CNNMoney's Emily Jane Fox contributed to this report.




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   The battle over race preferences at Harvard




   DREAM ACADEMY: T-shirts for sale in Harvard Square in Cambridge, Massachusetts. The exclusive university faces a lawsuit, waged in the
   name of Asian-American students, that seeks to end the use of racial considerations in admissions decisions. REUTERS/Jessica Rinaldi




   A litigious activist’s latest cause: ending
   affirmative action at Harvard
   By Joan Biskupic          Filed June 8, 2015, 2:45 p.m. GMT




   Conservative advocate Edward Blum is suing Harvard in what
   he says is a bid to end discrimination against Asian students.
   His quest, say opponents, could kill preferences for
   disadvantaged blacks.


https://www.reuters.com/investigates/special-report/usa-harvard-discrimination/                                                             1/14
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   BOSTON – In recent months, Harvard University
   has come under attack in court for allegedly
   limiting the number of Asian-American students it
   admits. A Reuters examination reveals how the
   lawsuit brought in their name arose from a broader
   goal: upending a nearly 40-year-old Supreme Court
   decision that has primarily helped blacks and
   Hispanics.

   A civil rights group representing African American
   and other minority students has recently filed papers seeking to enter the case, arguing they are
   the “real targets.” They say that if the lawsuit succeeds, the consequences for blacks, Hispanics
   and Native Americans would be “catastrophic,” and they cannot rely on Harvard to represent
   their interests.

   The lawsuit was not initiated by Asian Americans. It names none in its 120 pages.

   Rather, it was started by a conservative advocate, Edward Blum, who over the years has enlisted
   white plaintiffs to challenge race-based policies. He developed the case that two years ago led to
   a Supreme Court decision narrowing the Voting Rights Act of 1965. http://reut.rs/1EYqyT4
   Last week the justices accepted another voting-related case he started, one that could shift
   voting power from urban, Hispanic districts to rural, whiter areas in Texas.

   Blum launched the Harvard case after a prior high-profile effort to overturn university racial
   preferences foundered. For the earlier case, he had encouraged the daughter of a friend, Abigail
   Fisher, to sue the University of Texas for allegedly discriminating against her under a diversity
   policy that favored blacks and Hispanics with lower scores. The Supreme Court rejected the
   argument in 2013, although it sent the case back for further hearings, and a new appeal is
   pending at the U.S. Supreme Court.

   Even some advocates for Asian Americans agree with the claim of the civil rights group that
   Blum is going to wind up hurting blacks and Hispanics. Betty Hung, a spokeswoman for Asian
   Americans Advancing Justice, a civil rights group that contends race-conscious policies have
   broadly benefited its constituents, says Blum is using Asian Americans “for another misguided
   attack on affirmative action.”

   Responding to this criticism, Blum said in an interview with Reuters that he is in favor of race-
   blind admissions and is not trying to exclude any specific group. “Are we using a group to
   further an agenda? The agenda for this organization and, I believe, the sentiment and will of the
   American people, is to eliminate the use of racial classifications in admissions.” He added, “I
   proudly stand by any group that has been denied a place at a university because of skin color.”


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   Blum also dismissed the idea that blacks and Hispanics would necessarily suffer. In making
   admissions decisions, schools could instead rely on “economic disadvantage, life experiences,
   all kinds of factors that could be used and should be used, and will help blacks and Latinos,” he
   said.




                                                                                  BLUM AND ALLY: Abigail Fisher, who asserted she was
                                                                                  wrongly rejected by the University of Texas at Austin in
                                                                                  favor of minority students, was recruited by Blum to sue
                                                                                  the university over its racial preferences. A new Fisher
                                                                                  appeal is pending before the Supreme Court.
                                                                                  REUTERS/Jonathan Ernst




   Who’s behind Blum?
   Edward Blum, the conservative advocate who’s spearheading an effort to end affirmative-action admissions policies at Harvard
   University, is coy about who’s backing his lawsuit. All he will say is that his donors are “the usual suspects.”

   But Internal Revenue Service filings provide some answers. Filings show that Donors Trust, a tax-exempt charity that directs
   money to conservative causes, gave $785,000 to Blum’s Project on Fair Representation in 2013, the last year for which
   information is available. (Blum is the sole employee of the Project on Fair Representation.) The Virginia-based Donors Trust
   and a smaller affiliate foundation have directed more than $3 million to Blum’s projects since 2008, according to IRS filings.

   One of the contributors to the Project on Fair Representation, via Donors Trust and its affiliate, has been the Searle Freedom
   Trust, which gave the Blum organization $650,000 in 2013. A Searle spokeswoman said it gave Blum’s project another
   $500,000 in 2015 for the fight against university racial preferences and has promised $500,000 next year. Blum said he has
   separate commitments for about $900,000 from other undisclosed sources.

   In early 2015, Blum obtained IRS tax-exempt charity status for the Project on Fair Representation and for Students for Fair
   Admissions, the plaintiff in the Harvard and North Carolina cases. He said he is now directly soliciting funds rather than working
   through Donors Trust.




   The case against Harvard, filed last November in Boston federal court, argues that the
   university violates civil rights law by holding Asian Americans to a higher standard to restrict
   their numbers. The complaint cites studies showing Asian Americans have better academic

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   records than members of other ethnic groups but are disproportionately rejected for admission
   to elite schools.

   Harvard said it does not cap Asian American admissions but looks at each applicant
   “holistically.” In a public statement in May, Harvard general counsel Robert Iuliano said that
   weighing many characteristics is essential to Harvard’s academic mission and that its approach
   is consistent with federal law.

   Admissions data show that the percentage of Asian American students admitted to Harvard for
   this year’s entering undergraduate class rose to 21 percent, compared with 17.6 percent a
   decade ago. Asian Americans number 14.7 million in the U.S., or 4.8 percent of the population,
   according to the 2010 Census.

   The percentage of blacks admitted to Harvard also rose compared with the class that entered in
   2006, to 12.1 percent compared with 10.5 percent, as did the percentage of Latinos, by a
   somewhat wider margin. The gains for these groups appear to have come at the expense of
   whites, whose percentage in the admitted classes shrank to about 51 percent from about 61
   percent.

   Blum’s case is still at an early, pre-trial stage. Were it to proceed through appeals courts, it
   could ultimately be used to overturn the landmark 1978 Supreme Court case of Regents of the
   University of California v. Bakke, which forbade quotas but permitted colleges to use race as
   one criterion among many to obtain a diverse class.

   The practice of giving an extra boost to historically disadvantaged minority groups, known as
   affirmative action, has come under withering criticism by conservatives. It has so far withstood
   challenges at the Supreme Court, but by close votes.

   A NEW PLAINTIFF

   Blum’s newly created plaintiff for the Asian American case is called Students for Fair
   Admissions. Blum said it is a “coalition of prospective applicants and applicants to higher
   education institutions who were denied admission” to universities including Harvard. The only
   student it describes is an unnamed Chinese American who, the suit alleges, was ranked first out
   of 460 students in high school, achieved a perfect score on the ACT college-admissions exam
   and was rejected for admission by Harvard in 2014.

   Blum said he has successfully solicited about 150 Asian American students to Students for Fair
   Admissions. He declined to provide names, citing a desire to protect their privacy.

   At a court hearing in Boston on April 30, Harvard’s lawyer, Seth Waxman, raised questions
   about the anonymity. “What we have is a plaintiff that was created for the avowed and exclusive
   reason of suing Harvard,” he said. In the United States, a lawsuit may be filed on behalf of

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   unnamed plaintiffs, but their lawyers must show they have been harmed by the defendant or
   otherwise have legal “standing” to pursue the case.

   Blum told Reuters he expects that he will have to divulge names to Harvard during the
   upcoming “discovery” phase, when parties exchange information. “Harvard may try to persuade
   the court we are a sham organization, but our numbers prove we are a typical legitimate
   organization,” he said.




   FOR THE DEFENSE: Fadhal Moore, a 2015 graduate of Harvard, has signed on to an effort to oppose Edward Blum’s lawsuit seeking to end
   the affirmative action policies that, he says, gave him a leg up. “It’s really important, to be honest, to have the voices of the people who benefit
   heard.” REUTERS/Jonathan Ernst




   The group representing the blacks and Hispanics, the Lawyers’ Committee for Civil Rights
   Under Law, along with a Boston affiliate, lists five Harvard students by name in its request to
   join the case. The group also includes what it says are the initials and races of another nine
   students who plan to apply to Harvard.

   Fadhal Moore, one of the named students, says he is an example of the kind of applicant Blum’s
   lawsuit would bar from Harvard. The 21-year-old, who graduated from Harvard in May with a
   degree in government, said he had been at the top of his high school class in an overwhelmingly
https://www.reuters.com/investigates/special-report/usa-harvard-discrimination/                                                                           5/14
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   African American public school in the Atlanta
   area. But he did not have the high SAT scores of
   the average Harvard student. He said Harvard’s
   willingness to consider factors beyond grades                                  “It’s not just whites
   and test scores likely made the difference in his                              that are bemoaning
   admission.                                                                     racial practices.”
   Moore said he knew about the Students for Fair       Edward Blum, conservative advocate
   Admissions’ effort to find Asian Americans
   through its website. But he did not know much about the case until the spring, when he heard
   that lawyers were looking for black and Hispanic students to become part of it. Moore, who was
   active in minority student organizations, said the lawyers had put the word out through emails
   to such groups and then met on campus with interested students in April.

   In its request to join the case, known formally as a motion to intervene, the Lawyers’ Committee
   argues that it will be solely focused on the issue of race, while Harvard’s defense strategy could
   be influenced by other considerations. Both Harvard and Blum, though they are on opposite
   sides, have objected. The university counters that its interests are essentially the same as the
   Lawyers’ Committee’s, and that allowing the group to intervene would complicate the
   proceedings, by giving it the right to make its own arguments and possibly question witnesses.
   Harvard also says the Lawyers’ Committee’s involvement could “exacerbate the already
   significant privacy concerns that discovery in this case will entail.”

   Jon Greenbaum, chief counsel for the Lawyers’
   Committee, declined to comment, citing the pending
   motion. Rahsaan Hall, the lead lawyer for the
   Lawyers’ Committee’s Boston affiliate, did not return
   calls or emails seeking comment. A ruling on the
   motion to intervene could come as soon as this week.

   STRIKING A NERVE

   Blum’s efforts have struck a nerve among Asian                                     RECRUITING SITE: Blum’s organization created this
   American groups, which represent people who trace                                  web site, harvardnotfair.org, to enlist Asian American
                                                                                      students who feel they’ve been unfairly rejected by
   their heritage to several different countries and have                             Harvard. REUTERS/Screenshot
   varying degrees of wealth, schooling and history in
   the United States.

   “It took a Jewish white guy to start this case,” said James Chen, who runs a San Francisco-
   based company called Asian Advantage College Consulting. The firm advises students to
   underplay their ancestry as one strategy for maximizing their chances of getting into a top


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   school. Among some recent immigrants he has worked with, Chen said, “there is a tendency to
   keep their head down.” Chen said Blum reached out to see if Chen could get students to join his
   case. Chen said he gave Blum no names but endorses the effort.

   On May 15, a coalition of 64 Asian American groups filed a complaint with the Department of
   Education accusing Harvard of bias. Their complaint, which repeats some of the allegations in
   the Blum lawsuit, states that it was brought after obtaining “comprehensive evidence from the
   [lawsuit] filed by Students for Fair Admissions.”

   Chunyan Li, a professor of accounting at Pace University who was one of the organizers of the
   complaint to the Department of Education, said Asian American activists had for years been
   airing concerns about university admissions but were loosely organized and lacked sufficient
   evidence to pursue a case.

   If the Department of Education investigates a complaint and finds a violation of federal law, it
   could revoke a school’s federal funding. Such a step would be extremely rare. The Department
   of Education declined to comment on the Asian American groups’ complaint.

   CATALYST FOR A CASE

   Blum said his idea to bring an Asian-American lawsuit against affirmative action emerged about
   two years ago, after the Supreme Court decided the Fisher case. In an opinion rejecting a
   challenge to the University of Texas’ affirmative action policy, the court nevertheless suggested
   that it might be open to scrutinizing such policies more closely in the future.




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   BANGING DOWN THE DOOR: A pep band drummer plays at Harvard Yard in Cambridge, Massachusetts. The college is one of America’s
   most selective; this year, it accepted 1,990 of the record 37,307 who applied. REUTERS/Dominick Reuter




   “That was the catalyst,” Blum said, adding that
   he was ready to take things to a “higher, more
   dramatic” level.
                                                                                  “It took a Jewish white
   Blum has been challenging racial policies since
   the early 1990s, when he lived in Texas and ran
                                                                                  guy to start this case.”
   unsuccessfully for Congress in a racially            James Chen, Asian Advantage
   gerrymandered district. He says he had been          College Consulting
   following complaints by Asian Americans on
   student blogs and other internet sites, and collecting academic studies about possible bias
   against them.

   By late 2013, he was focusing his efforts on Harvard, one of the most selective universities in
   the U.S. and arguably its most prestigious. This year, the private institution, based in
   Cambridge, Massachusetts, sent admission notifications to 1,990 of the record 37,307 students
   who had applied. A 40-person admissions office sorts through applications in a secret process
   that the university says balances many factors, such as academic record, extracurricular
   achievements, whether parents were alumni, and race.



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   Blum said some research he read suggested that Harvard’s admissions rate of Asian Americans
   remained suspiciously stable even as the number of applications rose. The university had come
   under scrutiny over its Asian Americans admissions practices at least once before, as far back as
   the 1980s. The Department of Education in 1990 said it had pursued a claim of alleged
   discrimination against the university and found none.

   Blum also believed an attack on Harvard would resonate because of the university’s infamous
   history of restrictions on another ethnic group. In the first half of the 20th century, until it lifted
   them under pressure, Harvard imposed limits on admissions of Jews.

   A section of the lawsuit, titled “Harvard’s Jewish Problem,” draws an analogy to Asian
   Americans, claiming that discrimination was simply masked by a new screening process
   Harvard adopted after it abandoned the quotas. According to the lawsuit, Harvard still tried to
   figure out which applicants were Jews and used its discretionary admissions process to “deny
   the existence of any racial or religious quotas, while still managing to reduce Jewish enrollment
   to a much lower level, and thereafter hold it essentially constant.”

   Harvard responded that the lawsuit’s “historical
   allegations are legally immaterial” to the current case.

   To hedge his bets, Blum also sued a public institution,
   the University of North Carolina. A win in that case
   could be more narrow, since it might be limited only
   to state institutions. That case was filed the same day
   as the case against Harvard, also on behalf of
   Students for Fair Admissions, in federal court in
   Greensboro, North Carolina. Like Harvard, the                                        HEAVY HITTER: To fend off Blum’s suit, Harvard has
   University of North Carolina has denied the                                          hired one of the top appellate lawyers in the United
                                                                                        States, Seth Waxman. REUTERS/Stefan Zaklin
   allegations. The North Carolina case was subject to a
   preliminary hearing in May.

   WEBSITES SEEKING ASIANS

   To find students who might give his cases legal                                “What we have is a
   standing, Blum created a series of websites.                                   plaintiff that was
   One, with the address harvardnotfair.org,                                      created for the avowed
   features a photo of young woman with Asian                                     and exclusive reason of
   features unhappily sitting in a library.
                                                                                  suing Harvard.”
   “Were You Denied Admission to Harvard?” the
                                                                                  Seth Waxman, lawyer for Harvard
   site asks. “It may be because you’re the wrong
   race.” It seeks names and contact information.

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   Blum, a 63-year old former stockbroker who works out of his home on Penobscot Bay in Maine,
   also has been traveling and speaking to Asian American groups across the country.

   Because Harvard reveals few details about its admissions process, Blum’s lawsuit relies mostly
   on data provided by outsiders.

   One example is a 2009 report co-written by Princeton University sociology professor Thomas
   Espenshade. The study contends that Asian Americans needed SAT scores 140 points higher
   than whites, all other variables being equal, to get into elite schools. Blum also cited research by
   professors he used in the Fisher case. In its court filing, Harvard denied that it discriminates
   and said it lacked information about the studies to specifically respond to them.

   In the April 30 court hearing in Boston, the lead lawyer for Blum’s group, William Consovoy,
   said the plaintiffs want Harvard to turn over documents that show how Harvard determines
   and uses an applicant’s race. Consovoy suggested he would be seeking materials such as student
   essays, alumni interview notes and admissions officers’ records.

   Harvard’s lawyer, Waxman, indicated that the university would discuss a “reasonable,
   representative sample” and would be reluctant to hand over personal documents such as
   student essays.

   For a case that he hopes will eventually reach the Supreme Court, Blum has recruited some of
   the same lawyers, led by Consovoy, that he turned to in the Fisher affirmative action case and
   the newly accepted voting rights case. He said he has so far raised about $2 million to litigate
   the Harvard and University of North Carolina lawsuits. He declined to name donors but said
   the money comes from “the usual suspects,” conservative donors who’ve backed him in the past.

   Blum said he has not yet tried to raise money from one potentially deep pocket: wealthy Asian
   American foundations and individuals.


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   By Joan Biskupic

   Photo editing: Jim Bourg and Stelios Varias

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    Business

    Harvard Aggressively Defends Affirmative
    Action
    The university is facing its own charges of discrimination.

    Natalie Kitroeﬀ
    November 9, 2015, 12:09 PM EST

    Harvard University waded into a Supreme Court battle over aﬃrmative action in colleges and
    universities last week, with a full-throated defense of racial diversity. The university submitted
    an amicus curiae brief to the court, which is preparing to consider the case of Abigail Fisher for
    the second time. Fisher has charged that she was not admitted to the University of Texas at
    Austin because she is white.


    “Not only does diversity powerfully transform a student’s educational experience, but the
    beneﬁts also reach beyond the walls of our campus—they go to the heart of our democracy,”
    wrote lawyers representing Harvard. Forbidding institutions of higher education from
    considering race in deciding whom to admit “would represent a signiﬁcant intrusion into the
    academic freedom of universities.”




https://www.bloomberg.com/news/articles/2015-11-09/harvard-aggressively-defends-affirmative-action          1/2
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